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  PROS 12C
"' ED/AR (2/2005)
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                                                                                                   RICT ARKANSAS
                                       United States District Court
                                                   for the                             MAr' 18
                                         Eastern District of Arkansas      JAM
                                                                           By: ;r-"'U-ofVII;iLVJ
                            Petition for Summons for Offender Under Supe:;rv~i~s~io;t~...d~~~;'-;:=
                                                                                            P CLERK
                                             . Supplemental

    Name of Offender: James Jackson	                              Case Number: 4:02CR00094-001 WRW
    Name of Sentencing Judicial Officer:	     Honorable William R. Wilson, Jr.

                                              United States District Judge

    Offense:	                 Possession with intent to distribute more than 5 grams of cocaine base
    Date of Sentence:	        November 21, 2002
     Sentence:	               84 months Bureau of Prisons, 4 years supervised release, mandatory drug
                              testing, substance abuse treatment, and $100 special penalty assessment

                              March 3, 2008: Sentence of imprisonment reduced to time served under
                              18 U.S.C. # 3582(c)(2), and immediately enter and complete residential
                              substance abuse treatment followed by chemical free living, all provisions of
                              judgment dated November 21, 2002, shall remain in effect

                              March 24, 2008: Revoked, 6 months Bureau of Prisons, 36 months
                              supervised release, mandatory drug testing, substance abuse treatment, and
                              $100 special penalty assessment


     Type of Supervision:     Supervised Release	      Date Supervision Commenced: February 6, 2009
                                                       Expiration Date: February 5, 2012
     Asst. U.S. Attorney: John Ray White	              Defense Attorney: Omar Greene

     U.S. Probation Officer: Robert L. Gwin

     Phone No.: 501-604-5270


                                         PETITIONING THE COURT

  The offender has violated the following condition(s) ofsupervi-sion:

  Condition         Nature of Noncompliance

  General           The defendant shall refrain from any unlawful use of a controlled substance.
                    On April 14, 1009, Mr. Jackson reported to the probation office and submitted a drug
                    screen which tested positive for cocaine. He signed an admission of drug use form
                    acknowledging he ingested cocaine on April 4, through April 13,2009, daily.

                    On April 16,2009, Mr. Jackson reported to the probation office and submitted a drug
                    screen which tested positive for marijuana. He signed an admission of drug use form
                    acknowledging he smoked marijuana on April 4, 2009.
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Prob 12C                                 -2-                     Petition for Summons for
                                                               Offender Under Supervision

Name of Offender: James Jackson	                                  Case Number: 4:02CR00094-001 WRW




Special	       The defendant shall participate, under the guidance and supervision of the U.S.
               Probation Office, in a substance abuse treatment program which may include
               testing, outpatient counseling and/or residential treatment and abstain from the use
               of alcohol throughout the course of any treatment. Mr. Jackson failed to attend his
               scheduled group counseling session on April 14,2009.

               On April 17,2009, Mr. James entered residential treatment at Recovery Centers of
               Arkansas. He was unsuccessfully discharged from the program on April 29, 2009.
               According to the notification of non-compliance from Recovery Centers of Arkansas,
               Mr. James had to be prompted to stay awake in his group counseling on several
               occasions, and he did not demonstrate an interest in being in group counseling. Mr.
               Jackson stated to his counselors he had "zero" interest in treatment or recovery and was
               a distraction in the group, due to his behavior. According to the report, Mr. Jackson's
               peers reported he was also still involved with drugs While in the program by using
               marijuana and also bringing marijuana in to the treatment facility. The reports were not
               substantiated but were also a serious distraction to the program.


A summons has been issued and a revocation hearing is scheduled for May 26,2009. Mr. Jackson has
been appointed Assistant Federal Public Defender Omar Greene as counsel. The Government is
represented by Assistant U.S. Attorney John Ray White.


I declare under penalty of perjury that the foregoing is true and correct.


Executed on - - - - - - - - - - - - - -



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 Robert L. Gwin                                                     J    Ray     Ite
 U.S. Probation Officer                                             Assistant U.S. Altom?
 Date:     May 8, 2009	                                             Date:      1)( _....:..,_c:-I#~~_l - -__

This form is to be filed with Criminal Docketing as a motion.
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.Prab 12C                               -3­                     Petition for Summons for
                                                              Offender Under Supervision

Name of Offender: James Jackson                              Case Number: 4:02CR00094-001 WRW




Approved:



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RLG/kyj
c:	 Assistant Federal Public Defender, Omar Greene, 1401 West Capitol Avenue, Suite 490, Little
    Rock, AR 72201
    Assistant U.S. Attorney, John Ray White, P.O. Box 1229, Little Rock, AR 72203
